      Case 2:18-cv-13556-SM-KWR Document 301 Filed 06/07/22 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 KHOLKAR VISHVESHWAR GANPAT,                            Civil Action No. 18-13556 “E” (4)

         Plaintiff,                                      IN ADMIRALTY

 v.                                                     JUDGE SUSIE MORGAN

 EASTERN PACIFIC SHIPPING PTE, LTD.,                     CHIEF MAGISTRATE JUDGE
 d/b/a “EASTERN PACIFIC”                                 KAREN WELLS ROBY

         Defendant.                                   EASTERN PACIFIC’S RESPONSE
                                                      OPPOSING PLAINTIFF’S MOTION FOR
                                                      LEAVE TO FILE SUPPLEMENTAL
                                                      RESPONSE


       This Court now should deny the motion.

       The locus of a tort is the place where injury takes effect. T. Smith & Son, Inc. v. Taylor,
       276 U.S. 179, 48 S. Ct. 228, 72 L.Ed. 520 (1928); Bible v. Chevron Oil Co., 308 F.Supp.
       312 (E.D. La.1969), aff'd, 460 F.2d 1218 (5th Cir. 1972).

Oppen v. Aetna Ins. Co., 485 F.2d 252, 256 (9th Cir. 1973). “The place where the negligence or

wrongful act occurs is not decisive. The place injury occurs and the function the injured person

was performing at the time are more significant.” Smith v. Pan Air Corp., 684 F.2d 1102, 1111

(5th Cir. 1982).

       Plaintiff’s “supplemental response” in error insists that U.S. law (including the Jones Act)

must control because, plaintiff alleges, Eastern Pacific committed wrongful acts in the U.S.

       That is not the law. Plaintiff pleads, and his proposed supplemental response further

confirms, that his injury took effect at the earliest, in Gabon. The U.S. is not the locus of his tort,

including unseaworthiness claims.

       His repeated arguments ( from his opposition ) that his employment contract is not the

one he signed – specifying Liberian law (the vessel flag) – continue in error to conflict with his
      Case 2:18-cv-13556-SM-KWR Document 301 Filed 06/07/22 Page 2 of 2




sworn testimony.

       This Court should deny the motion. The proposed, surplus (and repeated) arguments are

futile and wrong.

Dated: June 7, 2022

                                   Respectfully Submitted,


 /s/ J. Stephen Simms                           MICHAEL H. BAGOT, JR., T.A. (#2665)
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